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                             IN THE UNITED STATES DISTRICT COURT FOR THE
                                        DISTRICT OF UTAH


UNITED STATES OF AMERICA,               )
                                        )
                  Plaintiff,            )
                                        )
v.                                      )    Case 2:13-cv-0999-RJS-PMW
                                        )
SERGIO FERNANDO SOSA and                )
SERGIO CENTRO LATINO                    )
                                        )
                 Defendants             )
______________________________________________________________________

UNITED STATES OF AMERICA,               )
                                        )
                 Plaintiff,             )   ORDER GRANTING STIPULATED
                                        )   MOTION TO DISMISS DEFENDANT
                                        )   ALMA GODINEZ
v.                                      )
                                        )    Case 2:16-cv-0352-RJS-PMW
                                        )    (Consolidated)
DAVID H. SOSA; CINTHIA T. C.            )
GALEANO; ALMA ROSE GODINEZ;             )
and SERGIO CENTRO LATINO,               )
                                        )
                 Defendants             )
______________________________________________________________________

              Having received the Government’s and Defendant Alma Godinez’s Stipulated Motion of

Dismissal, 1 and for good cause appearing, the court Grants the Motion pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

              Accordingly, Godinez is dismissed from this action without prejudice, and the parties will

bear their own respective costs and expenses.




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    Dkt. 66
                                                      1
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SO ORDERED this 17th day of May, 2019.



                                         _______________________________
                                         ROBERT J. SHELBY
                                         United States Chief District Judge




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